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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


ROADGET BUSINESS PTE. LTD.,

                                   Plaintiff,                       Case No.: 1:23-cv-16262

        vs.

THE INDIVIDUALS, CORPORATIONS,                                      Judge Jeffrey I Cummings
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A
TO THE COMPLAINT

                                   Defendants.


                         AGREED MOTION FOR EXTENSION OF TIME

        Pursuant to Rule 6(b)(1)(A), Plaintiff Roadget Business Pte. Ltd.’s (“Roadget”) and

Defendants 1, 2, 4, 6, 7, 11, 18, 19, 20, 22, 26, 27, and 29 1 (“Defendants”) respectfully request this

Court extend the time for Defendants to file an answer or otherwise respond to Roadget’s First

Amended Complaint by 14 days to December 6, 2024. No prior extensions were sought. In support

of this request, the Parties state as follows:




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 Defendant No. 1, Guangzhou Blackbeard Media Co., dba Onepeace; Defendant No. 2, Guangzhou Blackbeard Media
Co., Ltd., dba Zoro A; Defendant No. 4, Guangzhou Dexian Clothing Co., Ltd., dba Zero Series; Defendant No. 6,
Puning Liding Trading Co., Ltd., dba Saloni; Defendant No. 7, Guangzhou Tianhe District Shahederan Clothing Store,
dba Eurolaton; Defendant No. 11, Foshan City Chancheng District Danjinjie Clothing Factory, dba Dan Jinjie Clothing
Factory; Defendant No. 18, Shenzhen Kaiheng Qianse Clothing Co., Ltd., dba Good Boy Boy; Defendant No. 19,
Guangzhou Retaimei Trade Co., Ltd., dba Brother fashion; Defendant No. 20, Shilumei Apparel (Guangzhou) Co.,
Ltd., dba Mens Prince; Defendant No. 22, Shenzhen Kaiheng Qianse Clothing Co., Ltd., dba Fighter Planes; Defendant
No. 26, Shenzhen Kaiheng Qianse Clothing Co., Ltd., dba Zero A; Defendant No. 27, Guangzhou Dexian Clothing
Co., Ltd., dba Zero Go; Defendant No. 29, Guangzhou Zuowei Clothing Co., Ltd., dba Step Men Clothing

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       1.      Roadget filed its First Amended Complaint on November 8, 2024, setting

Defendants’ deadline to answer or otherwise respond to the First Amended Complaint as November

22, 2024.

       2.      Defendants 4, 7, 11, 18, 19, 20, 22, 26, 27 and 29 have settled, and the parties

anticipate filing dismissals of those defendants shortly.

       3.      Defendants 1, 2, and 6 are in the midst of hopefully productive settlement

negotiations. Any settlement may moot Defendants’ need to answer or otherwise respond to the

First Amended Complaint.

       4.      The request is made to assist the parties in settlement discussions, and permit time

to file dismissals of the already-settled defendants.

       Accordingly, Defendants respectfully request an extension of time to file an answer or

otherwise respond to Roadget’s First Amended Complaint by 14 days until December 6, 2024.



Dated: November 22, 2024                           Respectfully submitted,

/s/ Deepa A. Chari                              /s/ William W. Flachsbart
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